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              IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,          )   NO.   CR.F. 05-0161 OWW
                                   I
           Plaintiff,              j
                                   1
              v.                   )   ORDER STAYING MAGISTRATE'S ORDER
                                   )   RELEASING DEFENDANT ON BOND
JUAN TREJO,                        )   PENDING HEARING ON THE
                                   )   GOVERNMENT'S MOTION FOR REVOCATION
                                   )   HEARING
           Defendants.             1
                                   1
     Upon application of the United States Government for stay of
the order of the Magistrate Judge setting conditions of release
for the above-named defendants, and good cause appearing,
     IT IS HEREBY ORDERED THAT the Magistrate Judge's order
setting conditions for release of the above-named defendant, be
stayed pending the disposition of the government's motion to
revoke such order
     IT IS FURTHER ORDERED that the hearing on said motion be set
as soon as practicable.
Dated: N o v e m b93
                  e r , 2005
                                         OLIVER W. WANGER
                                         U.S. District Judge       '
                                                                   "
